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             IN    THE    UNITED   STATES   DISTRICT   COURT    FOR THE
                          EASTERN   DISTRICT   OF   VIRGINIA
                               Alexandria Division




UNITED   STATES    OF    AMERICA


v.                                                 l:12cr361    (LMB)
                                                   l:13cvl271    (LMB
DARRYL   JAROD    MAGWOOD


            Defendant.                         )



                               MEMORANDUM      OPINION


     Darryl Jarod Magwood ("Magwood" or "movant")                  acting pro se

has filed a Motion Under 28 U.S.C.             § 2255 to Vacate,        Set Aside,

or Correct Sentence By a Person in Federal Custody (u§ 2255

Motion"), in which he argues that he received constitutionally

ineffective assistance from his defense counsel, Jonathan Simms,

("Simms"), in connection with his decision to reject a

government offer of a plea agreement and go to trial.                      He also

alleges that counsel coerced him into waiving a trial by jury,

and failed to file a         Rule 29 or 33 motion to dismiss the

conviction for possession of a firearm in furtherance of a drug

transaction.       For relief he asks the Court to "vacate and remand

for re-sentencing on plea offer, without AUSA responding or

order an evidentiary hearing."              § 22 55 Motion at 11.         At no

point in his motion does Magwood allege he is innocent of the

offenses for which he was convicted.                Because the § 2255 Motion

lacks merit on its face, neither a response from the government




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nor an evidentiary hearing is required,                 and the § 2255 Motion

will be summarily dismissed.1

        I.    PROCEDURAL   BACKGROUND


        On August 9,     2012, Magwood was indicted along with co-

defendant Jawan Ronell Halton with one count of conspiracy to

distribute 28 grams or more of cocaine base in violation of 21

U.S.C.       §§ 846 and 841(a)(1) and possession of a firearm in

furtherance of drug trafficking in violation of 18 U.S.C.                         §

924(c) .

        The case was originally scheduled as a jury trial to start

on Monday,      October 9, 2012; however, on Wednesday,              October 5,

2012,    defense counsel filed a motion indicating that the

defendant and the United States were waiving the jury,                      and on

the morning of trial Magwood signed a jury waiver.                       Before

accepting the waiver,           the Court conducted a colloquy with

Magwood to determine whether he had entered the waiver

voluntarily and knowingly.             During that colloquy Magwood

admitted that he had been discussing the waiver with his counsel

and was acting voluntarily:



1 Under Rule 4(b) of the Rules Governing Section 2255
Proceedings,
        The     judge    who     receives   the    motion    must        promptly
        examine    it.     If    it   plainly   appears    from    the    motion,
        any     attached       exhibits,    and   the     record     of     prior
        proceedings that the moving party is not entitled to
        relief, the judge must dismiss the motion and direct
        the clerk to notify the moving party.
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            THE   COURT:         .     .    .    Before          we    get    started,       Mr.
    Magwood,      I   want   you       to        go       up    to    the    lectern.        Mr.
    Magwood,      I understand that this morning you signed the
    waiver of trial by jury form.                          Is that correct?
            THE DEFENDANT:           Yes,        ma'am.
            THE   COURT:         Had       you    discussed            before      today     the
    possibility of having this case tried without a jury?
            THE DEFENDANT:           Yes,        ma'am.
         THE COURT:   All right.    And I assume that                                        you
    discussed this decision carefully with Mr. Simms?
            THE DEFENDANT:           Yes,        Your Honor.
            THE COURT:       All right.                   Has anybody put any force
    or pressure on you to waive your right to a trial by
    jury?
            THE DEFENDANT:           No,        Your Honor.
            THE   COURT:         And       do     you          understand      that   with     a
    jury trial, we would have 12 people ultimately chosen
    to hear your case, and in order for a jury to make a
    decision,  it would --   the jury would have to be
    unanimous?   That means all 12 jurors have to agree
    with the   decision,  so  if  just  one  juror had a
    reasonable doubt, that jury would be what we call a
    hung jury, it could not result in any decision, and we
    would have to have a new trial.     Do you understand
    that?
            THE DEFENDANT:           Yes,        Your Honor.
          THE COURT:   Was                 all    of       that      basically explained
     to you by Mr. Simms?
            THE DEFENDANT:           Yes,        Your Honor.
          THE COURT:    And is it your wish                                   today     to    go
     forward with this case without a jury?
            THE DEFENDANT:           Yes,        Your Honor.
         THE COURT:   All right.   Have you been promised
    anything or told that you would get a lighter sentence
    or more favorable treatment by the Court if you waived
    your right to trial by jury?
            THE DEFENDANT:           No,        Your Honor.
          THE COURT:   All right.   And, Mr. Simms, did you
     carefully go over this waiver with your client?
            MR.   SIMMS:     Yes,      I did,             Your Honor.
            THE COURT:       Are you satisfied that Mr. Magwood is
     entering      the     waiver           in        a        knowing       and   voluntary
     fashion?
            MR.   SIMMS:     I   am.
          THE  COURT:     Are  you  aware  of  any  outside
     influences that might have affected his choice in this
    matter?
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                  MR.   SIMMS:    No,       Your Honor.
                  THE COURT:      All       right,    based on these answers            to
            the Court's questions, I'm finding this is a knowing
            and voluntary waiver of trial by jury. We'll go ahead
            then and conduct      this as a bench trial.


Tr.    at     4-6.


            After finding that Magwood had knowingly and voluntarily

waived his right to a jury trial,                     but before the bench trial

began,        the prosecutor alerted the Court to a plea offer the

government had extended to Magwood on the previous Friday

evening.          Under the proposed plea agreement Magwood would plead

guilty to conspiracy to distribute 28 or more grams of cocaine

base        (Count 1) and the government would move to dismiss the

firearm charge (Count 2).                    Because Count 2 carried a mandatory

minimum sentence of five years imprisonment,                             which had to run

consecutive to any sentence for Count 1, which also had a five

year mandatory minimum,              the proposed plea significantly reduced

Magwood's potential mandatory minimum sentence from 120 months

to    6 0    months.


            Upon hearing the description of the proposed plea,                        the

Court asked Simms whether he had fully explained to Magwood the

risks involved in rejecting the plea offer and going to trial:

            I assume that Mr. Magwood understands and that you've
            explained to him that the risk he faces in going to
            trial is that if he is found guilty of both Count 1
            and the gun count [Count 2] , the gun count carries a
            five-year mandatory consecutive sentence, which means
            the   minimum   amount   of      time    he   would    serve   would be    ten
            years if he's found guilty of both charges.
                  MR.    SIMMS:         I    did    explain       that    to   him,   Your
            Honor.
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             THE COURT:   Mr. Magwood, do you understand the
        difference here?    Do you understand the difference
        between the plea offer that was made to you on Friday
        and what could happen to you if you go to trial?
              THE DEFENDANT:           Yes,    Your Honor.


Tr.   at   9-10.


        The Court then asked Magwood if he had had enough time to

discuss the decision whether to accept the plea offer or go to

trial.      Magwood explained that because the plea agreement had

been offered over the weekend he had not had enough time to

fully consider the offer,              although he conceded that he "was

aware of     the circumstances."              The    Court     offered to   take a   brief


recess to allow him more time to think about his decision,                            which

offer Magwood accepted.            The transcript reflects that the recess

lasted from 10:07        to    10:56    a.m.        Id.   at   11.


        After the 50-minute recess,                 the proceedings were reopened

when a written plea agreement signed by the movant was

presented.         The Court began the colloquy required under Fed.                     R.

Crim.      P. 11 by having Magwood affirm that he would answer the

questions truthfully and acknowledge that he faced perjury

charges if he lied in answering any question.                         He then stated

that he was 26 years old,              had completed the eleventh grade, had

no problem reading,           writing, or understanding English, and was

not under the influence of alcohol or drugs.                         Id. at 13, 15.      He

also acknowledged that he had enough time to read the plea

agreement; that he had asked his attorney all the questions he

had about the plea agreement; and that counsel had answered all
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of his questions to his satisfaction.        Id. at 16.     Magwood was

not reluctant about asking questions during the plea colloquy.

For example, when asked whether he wanted to ask the Court any

questions about the plea agreement, he raised questions about

his eligibility for a downward departure at sentencing under the

safety valve.1      Magwood also admitted that he told Simms

everything he knew about the case, that Simms had discussed the

nature of the conspiracy charge, and that he was fully satisfied

with the way in which Simms had been working on the case.              Id.

at   32-33.


       After advising Magwood about the rights he would give up by

pleading guilty,      the Court began to discuss the written

Statement of Facts,        which Magwood admitted having read and

signed.       Id. at 37.    When the Court explained to Magwood that by

signing the Statement of Facts he was admitting the truth of

what was contained in the eleven numbered paragraphs and that he

was acknowledging that the government could have proven those

facts beyond a reasonable doubt,        Magwood asked to address the

Court.    Before Magwood said anything,      his counsel asked to

consult with him,      and after a brief discussion,     counsel

announced that Magwood wanted to go to trial.           Tr. at 37-38.        In

1 In response to that question, the Court explained that if a
defendant had more than one misdemeanor on his record,             he would
not be safety valve eligible.  Magwood admitted having three or
four misdemeanor convictions, some of which involved drug
offenses.  Simms told the Court that he had advised Magwood that
his record disqualified him from being safety valve eligible and
Magwood acknowledged that he understood.         Tr.   at 19.
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response to that statement the Court warned Magwood about the

consequences of rejecting the plea agreement,                 to which he

responded that he understood:


           THE COURT:   This has really wasted a lot of time this
      morning.  I'm not going to try to force the defendant into
      the plea, but I want to make sure you understand this is
      the last time you can change your mind.
              THE DEFENDNAT:     Yes,       Your Honor.   I do.
              THE   COURT:     And,     you    know,    the   government's    got   a
       right to use this written statement against you.     Why did
       you sign the statement of facts if you don't agree with it?
            THE DEFENDANT:   From the defense, Your Honor, that you
       just expressed to me that the government has to prove
       beyond a reasonable doubt is not what me and my attorney
       went over.   From my understanding, that wasn't what had to
       be portrayed today at trial.
            THE COURT:   Mr. Simms, can you articulate for me a bit
       better your client's understanding of the burden of proof?
       I assume you went over the burden of proof with your
       client.
              MR.   SIMMS:     We     did     discuss   reasonable   doubt,    Your
       Honor,  that it's always the government's burden.      Your
       Honor, he is a little confused in regards to what the
       government would have to prove to show conspiracy and the
       evidence that they do have.
            We discussed the pieces of evidence that they have
       against him, but he is confident in rebuttal evidence we
       can present in regards to evidence that the government will
       produce.
              THE COURT:     All right.        Now, both charges are going to
       go forward.
              THE DEFENDANT:     I    understand.
              THE COURT:     So the gun count is back in this case.
              THE DEFENDANT:     I    understand.


Id.   at   37-39.


       The bench trial started immediately and Magwood was found

guilty as to both charges.            At the sentencing hearing on January

11, 2013,     the Court accepted the guideline calculations in the

Presentence Report ("PSR"), which found an offense level 34, a
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criminal history IV, and a resulting advisory guideline range

for Count 1 of 210 to 262 months incarceration.2                The government

allocuted for a within-guideline sentence of 270 months

(consisting of 210 months on Count 1 and 60 months consecutive

on Count 2).        Defense counsel argued for a total sentence of 12 0

months (consisting of the statutory mandatory minimum for each

count).      Id.   at 13-16.   The Court gave the defendant a

significant variant sentence of 150 months (consisting of 90

months on Count 1 and 6 0 months consecutive on Count 2).

        Magwood,     through new counsel, appealed his conviction and

sentence.      United States v. Magwood,            528 F. App'x 331   (4th Cir.

2013).       Counsel's brief was filed pursuant to Anders v.

California,        386 U.S.- 738   (1967)       and Magwood filed a pro se

supplemental brief.         The issues raised on appeal included

challenges to the Court's finding the testimony of Detectives

Flich and Christopher credible, while rejecting the credibility

of     Magwood's testimony.        Magwood also appealed the sufficiency

of the evidence supporting the firearm offense.                 That claim was

rejected.      Magwood,    528 F. App'x at 332-33.          He also attempted

to raise various ineffective assistance of counsel claims,



2 The level 34 took into account a drug quantity of 112 to 196
grams, resulting in a 28 base offense level, increased two
points for a leadership role.  The offense level was further
increased four levels for obstruction of justice for falsely
testifying at trial and for fleeing into traffic and exposing
the arresting officer to substantial risk of death or serious
injury from car traffic in the busy intersection under U.S.S.G
§    3C1.2


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including that his trial counsel coerced him into signing the

statement of facts that accompanied his aborted plea.          The

Fourth Circuit declined consideration of those issues.           Id.   at

333.     Magwood timely filed the pending § 2255 Motion.

        II.   FACTUAL   BACKGROUND


        On May 18, 2012, a Prince William County detective called

Cody Jones,     a person from whom he had been buying crack cocaine,

to order $200 worth of the drug.         Jones responded by arranging

the sale at a McDonald's restaurant in Manassas, Virginia.             When

the detective met up with Jones,        Jones said he was waiting for

his supplier.      Detectives saw a blue/green Dodge Charger with

dark-tinted windows pull up into an adjacent parking lot and saw

a white male, later identified as Benjamin Lacovey ("Lacovey"),

exit the Dodge, approach Jones, and hand Jones a plastic bag.

Jones immediately returned to the detective's car and handed him

the plastic bag,        which appeared to contain crack cocaine.

        Law enforcement officers began to follow the Dodge Charger

along Route 234, seeing it stop several times and watching

Lacovey appear to make what looked like hand-to-hand drug

transactions.      At 11:30 p.m., police conducted a traffic stop of

the car.      Magwood was seated in the right front passenger seat,

co-defendant Jawan Ronell Halton ("Halton")        was the driver,     and

Lacovey was in the back.         As the car was being stopped, police

noticed Magwood bend down as if placing something under his

seat.     After Magwood was told to exit the car, he attempted to
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flee, running into oncoming traffic.          Officers chased him into

traffic.     After being wrestled to the ground,        Magwood resisted

being handcuffed,     trying to keep his hands under his body by his

waist.


        After finally subduing, handcuffing,        and rolling Magwood

over,    police found a plastic bag containing 9.739 grams of

heroin and 12.904 grams of cocaine immediately under his body,

as well as $2,218 in cash in his front pockets.            They also found

two plastic baggies containing 24.385 grams of heroin and two

plastic bags containing 31.748 grams of crack cocaine on

Lacovey's person.      Halton had $2,519 in cash on his person, and

$1,190 in cash was found under the driver's side visor.               Under

the front passenger seat where Magwood had been sitting,

officers    found a   loaded   .40 caliber Taurus    semi-automatic


pistol.

        In a Mirandized post-arrest statement,        Magwood admitted

possessing the heroin and crack found on his person, but claimed

the drugs were for personal use.           He also admitted knowing that

Lacovey was selling drugs,       and that he had gotten some of the

customers for Lacovey; however,       during the trial, Magwood

testified and denied most of what he told the officers.               Among

other statements found incredible by the Court was his claim

that all the arresting officers wore masks;           that he fled from

them because he feared they were robbing him; and that the

officers planted the drugs on him.


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     III.    DISCUSSION


     In his § 2255 Motion,          Magwood alleges four grounds for

relief; however, grounds 1 and 2 are essentially the same in

that they both assert that defense counsel was ineffective for

"coercing" Magwood into rejecting the government's plea

agreement (Claim 1) and for advising Magwood not to plead guilty

(Claim 2).    In Claim 3, Magwood complains that counsel was

ineffective in advising him to waive a trial by jury.              Lastly,

in Claim 4, Magwood alleges that counsel should have filed a

post-trial motion under Rules 29 or 33 to raise defects in the

firearm conviction,       which Magwood alleges was for a non-existent

offense.


     A.     Standard of   Review


     A motion under 28 U.S.C.          § 2255 provides for collateral

attack on a conviction or sentence that was imposed in violation

of the United States Constitution or laws;            where the court

lacked jurisdiction to impose the sentence; where the sentence

was in excess of the maximum authorized;            or where the sentence

or conviction is otherwise subject to collateral attack.                To

prevail, a movant bears the burden of proving his grounds for

collateral relief by a preponderance of the evidence.              Vanater

v. Boles,    377 F.2d 898,    900    (4th Cir.   1967).   Any relief under §

2255 is designed to correct fundamental constitutional,

jurisdictional, or other errors,          and it is therefore reserved

for situations in which denying relief would "inherently

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result[]     in a complete miscarriage of justice."               United States

v. Addonizio,       442 U.S.    178, 185    (1979)    (quoting Hill v. United

States,     368 U.S.    442,   428   (1962)).

       Moreover,     a motion pursuant to § 2255 "may not do service

for an appeal," and claims that were not appealed are deemed

waived and,     therefore,      procedurally defaulted unless the movant

can show cause and actual prejudice.                 United States v. Frady,

456 U.S.     152,    165-67    (1982); United States v.        Maybeck,   23 F.3d

888,   891-92   (4th Cir.      1994)    (applying the Frady standard to

unappealed guilty pleas).              An exception applies, however,        when a

defendant brings a claim of constitutionally ineffective

assistance of counsel,          which can be raised in a collateral

challenge.          See United States v. Martinez,           136 F.3d 972,    979

(4th Cir.     1998);    United States v.         DeFusco,   949 F.2d 114,    120-21

(4th Cir.     1991).


       B.    Ineffective Assistance         of    Counsel


       To sustain his         § 2255 Motion based on ineffective


assistance of counsel, Magwood must satisfy the two-pronged test

set forth in Strickland v. Washington,                466 U.S.   668   (1984),

which requires a showing of both deficient performance by

counsel and resulting prejudice to the defendant from that

deficient performance.           Because " [i]t is all too tempting for a

defendant to second-guess counsel's assistance after conviction

or adverse sentence," and because a wide range of legitimate


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defense strategies are possible in a given case, "scrutiny of

counsel's performance must be highly deferential."              Id. at 689.

Even were counsel's performance unreasonable,             to prevail, a

movant must affirmatively "show that there is a reasonable

probability that, but for counsel's unprofessional errors,                   the

result of the proceeding would have been different.              A

reasonable probability is a probability sufficient to undermine

confidence   in the outcome."     Id.    at   694.


     1.   Counsel's Advice Concerning the Guilty Plea

     In his first two claims,      Magwood argues that his counsel

coerced him into rejecting the plea agreement and going to trial

and that the prejudice he suffered by going to trial was being

found guilty of both counts and being sentenced to 15 0 months'

incarceration.


     The factual record does not support a finding that Magwood

was coerced into anything.       Instead,      the record establishes that

Magwood simply changed his mind about pleading guilty when the

Court began to discuss the facts the government would have to

prove to establish guilt.       As the transcript of the plea

colloquy shows,   after Magwood asked to say something,              Simms

requested a chance to consult with him.              After that brief

consultation, Simms announced that he believed Magwood wanted to

proceed to trial.    Magwood did not object to that statement.

And in response to that statement, the Court addressed Magwood


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directly and explained to him the ramifications of rejecting the

plea.    Three times, Magwood responded that he understood that

the gun count would be back in the case.           At no point during

that exchange did Magwood protest that his counsel had not

accurately represented his position,       nor did he object to the

trial going forward.     Given that Magwood had not been reluctant

to ask questions during the aborted plea colloquy,          there is no

reason to question his willingness to object to counsel's

statement if he had disagreed with it.        Moreover,    the trial

record shows that Magwood fully participated in the trial,

including testifying to his version of the facts in an effort to

contradict the government's evidence.

        Lastly, neither in his allocution during the sentencing

hearing, nor in a post-sentencing letter he wrote to the Court,

did Magwood protest that his attorney forced or mislead him into

rejecting the plea and going to trial.3        Because the Court finds

no evidence in this record that Simms forced or pressured the

defendant into rejecting the plea, the first two claims fail.4



    Magwood also did not raise these arguments in the Petition
for Relief under Federal Rules of Criminal Procedure, Rule 33,
in the Interest of Justice [Dkt. No. 128] he filed on his own
behalf on July 22, 2 013, several months before he filed the
pending § 2255 Motion.
4 The affidavits of Magwood's parents attached to his § 2255
Motion stating simply that Simms told their son not to accept
the plea agreement are not persuasive given Magwood's admissions
under an affirmation to tell the truth that he had fully
discussed his options with Simms.        See Tr.    at 37-39.

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       2.   Jury Waiver

       In his third claim Magwood argues that Simms failed to

follow his instructions to "push and acquire a trial by jury."

Aff.   & Mem. of Law in Supp.   of the Pet'r's 28 U.S.C. § 225(F)(1)

Petition at 10.     The record contains no reliable evidence to


support that allegation.      The affidavits of Magwood's parents

are not sufficient to establish that Magwood was coerced into

waiving a jury, given that the record shows that Magwood

intelligently, knowingly,     and voluntarily waived his right to a

jury trial.     In response to the Court's questions about the jury

waiver, Magwood explicitly acknowledged that he had discussed

the decision to waive a jury trial with counsel,         that no one had

forced or pressured him into waiving a jury,        and that he had not

been promised a lighter sentence or more favorable treatment by

the Court if he chose a bench trial over a jury trial.           Tr. at

4-6.    Regardless of what advice his counsel may have given him

regarding the pros and cons of a jury trial,        it is clear from

that colloquy that Magwood made the decision to waive jury

knowingly, voluntarily, and intelligently.

       Even if Simms had advised Magwood to waive a jury, such

advice is not an uncommon tactical decision, which competent

defense counsel may recommend to a defendant who, for example,

may want to testify but would expose himself to cross-

examination that might be overly prejudicial in the eyes of a

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jury.        Magwood did testify, and his record was sufficient to

justify counsel's advice to waive a jury.             There is on this

record no evidence to support a conclusion that counsel's advice

fell outside the norm for professional conduct.

        Moreover,      and most significantly, Magwood cannot show

prejudice.           Given the very strong trial evidence,    including the

testimony of co-defendant Lacovey; the police officers'

testimony; Magwood's post-arrest admissions; the discovery of

drugs under Magwood's body; the discovery of the gun under his

car seat; and the discovery of the cash on his person,             there is

no reason to believe that a jury would have reached any

conclusion other than guilt.            Lastly,   the Fourth Circuit's

conclusion that          the   record contained sufficient evidence   to


support Magwood's convictions is further evidence of the

unlikelihood that a jury would have acquitted.                For these

reasons,       Magwood's claim that counsel was ineffective in

relation to Magwood's decision to waive a jury trial fails.

        3.     The   Firearm Conviction


        In his last claim,         Magwood argues that Simms was

ineffective in failing to file motions under Fed.             R. Crim.     P. 29

and 33, attacking the legality of the conviction under 18 U.S.C.

§ 924(c)(1)(A) for possessing a firearm in furtherance of a drug




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trafficking offense.5          Specifically, Magwood argues that the

Court found him guilty of a non-existent crime,                     which he

describes as possession of a firearm during a drug trafficking

offense,    rather than possession of a firearm in furtherance of a

drug trafficking offense.             Magwood relies on United States v.

Castano,    543 F.3d 826       (6th Cir.   2008),   for his argument that §

924 (c)   does not include an offense for possession of a firearm

during a drug transaction.             That description of what constitutes

an offense under § 924(c)          is correct.      The statute does not make

possession of a firearm during a drug trafficking offense a

crime.     Castano involved a jury trial with multiple

misstatements of the law in the jury instructions and verdict

form,     leaving open a genuine concern as to whether the jury had

found all the elements necessary for a conviction under §

924(c).     Castano,    543 F.3d at 833-37.

        In Magwood's case,      however,    there is no doubt that he was

convicted of an actual violation of § 924(c).                      First, although

not as artfully as it should have,              the Court did make the

finding that Magwood's possession of the firearm was in

furtherance of the drug conspiracy when it announced its

verdict:


        So I find beyond a reasonable doubt the government has
        established     that    the    defendant    was       a    member     of   a
        conspiracy     to   distribute     28   grams    or       more   of   crack

   The record reflects that counsel did make an oral motion under
Rule 29 and filed a         written motion for a        new trial under Rule
33, although the specific issues raised in those motions were
not the same as the one being argued in this § 2255 Motion.

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       cocaine,       and        I    also        find    the    defendant       was     in
       possession of a firearm during,                     in,   and related to the
               in    furtherance             of     the     commission          of     that
       conspiracy.           He       is   therefore       found       guilty    of    both
       counts.


Tr.   at    289.


       Second,      the Judgment Order clearly that the offense in that

Count 2 for which Magwood was found guilty was "possession of a

firearm in furtherance of a drug trafficking offense."                                 See Dkt.

No. 110.       And, of most significance, on appeal the Fourth

Circuit clearly found the evidence in the record more than

sufficient to support the § 924 (c) conviction, thereby putting

to rest any concern that Magwood was not properly convicted of

an actual offense:


       Magwood constructively possessed the firearm that was
       seized during a traffic stop:   the gun was under the
       car's passenger seat where Magwood was seated the
       entire evening; he was seen reaching under the seat
       when the traffic stop began;                      he was seen with the gun
       earlier that evening;                 and he had carried that firearm
       during previous drug                  transactions.   Further, it is
       reasonable to infer that the gun                          was    being used in
       furtherance  of a drug   offense:                               it was   easily
       accessible;          it       was   loaded;        and    it     was     in    close
       proximity to both drugs and drug profits discovered in
       the car and on Magwood's person.

Magwood,      528 F. App'x at 332-33                (4th Cir.    2013) .

       For these reasons,             his last claim fails.

       C.     Conclusion


       For all of the above stated reasons,                      there is no need for

an evidentiary hearing because the record clearly establishes

that there is no merit to any of Magwood's claims.                              Accordingly,
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the Motion to Vacate,    Set Aside or Correct Sentence by a Person

in Federal Custody Pursuant to 28 U.S.C. § 2255 will be

dismissed by an Order to be issued with this Memorandum Opinion

     Entered this    \j{ ' day of April, 2014.

Alexandria, Virginia




                                                          tef
                                            Leonie M. Biinkerna
                                            United States DistrictJudge




                                     19
